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    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK
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    In re:
                                                                               Index No. 18-73782 (REG)
    PATRICIA LAMANNA,
    a/k/a PATRICIA ROSE MCCALLAN                                               Chapter 7

                                       Debtor.
    -------------------------------------------------------------------- X


                         ORDER CONFIRMING SALE OF REAL PROPERTY

           UPON the motion (the “Motion”)1 of Richard L. Stern, Esq. (the “Trustee”), the chapter 7

trustee of the estate of Patricia Lamanna a/k/a Patricia Rose McCallan (the “Debtor”), by and

through his counsel, Macco & Stern, LLP, seeking an entry of an order confirming the results of a

public auction (the “Sale”) of the real property located at, and known as, 107 Wilson Place,

Bellmore, New York 11710 (the “Real Property”) held on October 11, 2018; and there having been

actual and competitive bidding at the Sale; and Richard Lescoe (the “Successful Bidder”) having

appeared at the Sale and offered Four Hundred Thirty Four Thousand and 00/100 ($434,000.00)

Dollars (the “Successful Bid”) to purchase the Real Property, in addition to a five (5%) percent

buyers’ premium of Twenty-One Thousand Seven Hundred and 00/100 ($21,700.00) Dollars (the

“Buyer’s Premium”); and the Successful Bid being the highest and best offer that the Trustee

received; and acceptance of the Successful Bid for the Real Property being a reasonable exercise

of the Trustee’s business judgment and in the best interests of the Debtor’s estate and creditors;

and upon the Affidavit of Richard Maltz and Declaration of Cooper Macco in support of the

Motion (the “Supporting Documents”); and the Trustee currently holding a down payment for the

Successful Big in the amount of Sixty-Five Thousand One Hundred and 00/100 ($65,100.00)



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    All capitalized terms used but not herein defined shall have the meaning ascribed in the Motion.
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Dollars (the “Deposit”), representing ten (10%) percent of the Successful Bid and the full amount

of the Buyer’s Premium; and service of the Motion and Supporting Documents being on file with

the Court; and the Court having found that entry of this order is fair and reasonable and in the best

interest of the Debtor’s estate and its creditors; and sufficient cause having been shown therefore,

and no additional notice being necessary or required; and after due deliberation by the Court;

       ORDERED, that the Motion is granted; and it is further

       ORDERED, that the results of the Sale are approved in all respects; and it is further

       ORDERED, that Trustee is authorized to sell the Real Property to the Successful Bidder

Richard Lescoe for the Successful Bid in the amount of Four Hundred Thirty-Four Thousand and

00/100 ($434,000.00) Dollars, plus payment of the Buyer’s Premium in the amount of Twenty-

One Thousand Seven Hundred and 00/100 ($21,700.00) Dollars, for a total amount of Four

Hundred Fifty-Five Thousand Seven Hundred and 00/100 ($455,700.00) Dollars; and it is further

       ORDERED, that pursuant to Bankruptcy Code §§363(b), (f) and (m), the Trustee is

authorized and empowered to sell the Real Property “as is” and “where is”, free and clear of all

liens, claims and encumbrances, with any such liens, claims and encumbrances to attach to the

proceeds of the sale to the same extent and with the same validity and priority as they presently

exits, subject to the covenants and restrictions of records, and subject to the terms and conditions

of this Order, for the Successful Bid; and it is further

       ORDERED, that the Trustee is authorized to distribute from the proceeds of the Sale: (a)

any and all amounts due and owing under any allowed secured claim against the Real Property;

(b) the Debtor’s homestead exemption; and (c) any and all real estate adjustments necessary to

close upon the Sale.
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       ORDERED, that, in the absence of a stay pending appeal, if the Successful Bidder closes

the Sale for the Successful Bid at any time after entry of this Order, the Successful Bidder shall be

entitled to the protections of Bankruptcy Code §363(m) as the sale to the Successful Bidder for the

Successful Bid constitutes a good faith purchase for fair value within the meaning of Bankruptcy

Code §363(m); and it is further

       ORDERED, that is the Successful Bidder fails to close in accordance with the Terms and

Conditions of Sale, than the Trustee is authorized and entitled to: (a) keep the Successful Bidder’s

deposit as liquidated damages; and (b) hold another auction for the Real Property on an expedited

basis without additional order of the Court; and it is further

       ORDERED, that the Trustee is authorized to do such things, execute such documents, and

expend such funds, as may be reasonably and necessary to effectuate the terms of this and

conditions of this Order, the Terms and Conditions of Sale, and the Auction Order, and take

exclusive possession of the Real Property; and it is further.

SO ORDERED:




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 Dated: Central Islip, New York                                       Robert E. Grossman
        October 23, 2018                                         United States Bankruptcy Judge
